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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION



In re:                                            CV21-121-M-DWM

PAMELA J. STOKES,

                            Debtor.                         ORDER



      The Debtor-Appellant having failed to comply with Rule 8009 of the Rules

of Bankruptcy Procedure,

      IT IS ORDERED that the October 15, 2021 briefing schedule (Doc. 2)is

VACATED. Debtor-Appellant has until November 24, 2021 to follow the

procedure outlined in Rule 8009. The Clerk is directed to provide a copy of this

Order to the Bankruptcy Court.

      DATED this            of November, 2021.


                                                       /x




                                      Donald \^/Moll )y, District Judge
                                      United States District Court
